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8                             UNITED STATES DISTRICT COURT
9                           CENTRAL DISTRICT OF CALIFORNIA
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11
                                                 Case No. CV 20-03242-AB (PVCdx)
12    Silas Braxton,
13
                       Plaintiff,
                                                 ORDER DISMISSING CIVIL ACTION
14
      v.
15
      Eao Hay Tang, an individual, Chak Por
16    Tea, an individual; and Does 1-10,
17                     Defendants.
18
19         THE COURT having been advised by counsel that the above-entitled action has
20   been settled;
21         IT IS THEREFORE ORDERED that this action is hereby dismissed without
22   costs and without prejudice to the right, upon good cause shown within 60 days, to re-
23   open the action if settlement is not consummated. This Court retains full jurisdiction
24   over this action and this Order shall not prejudice any party to this action.
25
26
     Dated: September 25, 2020        _______________________________________
27                                    ANDRÉ BIROTTE JR.
28                                    UNITED STATES DISTRICT JUDGE

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